                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO



 SANDRA RODRÍGUEZ COTTO;
 RAFELLI GONZÁLEZ COTTO,

                Plaintiffs,

        v.                                                 Civil Action No. ____________

 WANDA VÁZQUEZ GARCED, Governor of
 Puerto Rico; DENNISE NOEMÍ
 LONGO QUIÑONES, Secretary of
 Department of Justice of Puerto Rico;
 PEDRO JANER, Secretary of Puerto Rico
 Department of Public Safety; HENRY
 ESCALERA, Puerto Rico Police
 Commissioner, all in their official capacities,

                Defendants.



                   DECLARATION OF SANDRA RODRÍGUEZ COTTO

       I, Sandra D. Rodríguez Cotto, declare as follows:

       1.      I am a resident of Guaynabo, Puerto Rico.

       2.      I am 50 years old and competent to make this declaration.

       3.      I am an independent journalist with over 30 years of experience in print,

television, magazines, radio and digital media in Puerto Rico, the United States and several Latin

American countries. I am also a Public Relations Professional, licensed in Puerto Rico.

I.     Professional Experience

       4.      Currently, I host the syndicated radio program “En Blanco y Negro con Sandra”

that airs daily, Monday to Friday, at 1 PM on at least 11 broadcast and online radio stations

throughout Puerto Rico. Since 2010, I have published a blog by the same name, “En Blanco y



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Negro con Sandra,” where I feature my own news stories, in-depth reporting, and analysis of the

media and politics. The blog is online at: https://enblancoynegromedia.blogspot.com/. I also have

a weekly Facebook live program that includes investigative journalism, news, and analysis of

current issues.

       5.         For over 16 years I was a weekly columnist for several local and international

media. Most recently, I was a columnist for local newspaper El Vocero and the digital news site

NotiCel, for which I have received several journalism awards.

       6.         My previous experience includes being a reporter for El Nuevo Día newspaper as

an Investigative Unit reporter and special correspondent in the Caribbean region; TV producer

and head of Investigations at Wapa TV; business reporter at Caribbean Business; and reporter at

Univision Network (Miami) and Telemundo Channel 47 (New York). I have also been a regular

contributor to US news outlets such as BuzzFeed, Huffington Post, All Digitocracy, Diario La

Prensa, Diario La Opinión (Los Ángeles), The Miami Herald, and publications in Latin America

such as Diario de Cuba, La Reforma (Mexico), and the Red de Relacionistas de América Latina,

based in Argentina.

       7.         From 2004 to 2013, I created and ran a public relations firm with former reporter

Pepo García called Avant Communications. In 2013, I established Joy PR, Inc. as a sole-

proprietor communications consulting and public relations firm.

       8.         I have published several books on communication and journalism including

"Frente a los medios" (“Facing the media”) (2014), the collection of essays and columns "En

Blanco y Negro con Sandra" (“In Black and White”) (2016), and “Bitácora de una transmisión

radial” (“Radio transmission log”) (2018) about what happened at the only radio network that

remained on the air during and after Hurricane Maria in Puerto Rico.



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       9.      Some of my essays have been published in anthologies such as “Crónicas de

María” (2018) (Chronicles about Maria), “La maestra yanqui” (2018), Aftershocks of the

Disaster: Puerto Rico Before and After the Storm” (2019), and the four year-long investigation

“Journalism in colonial settings: the last colony of the Hemisphere” as co-author with Professors

Federico Suberví and Jairo Lugo-Ocando from the School of Media and Communication at the

University of Leeds (England).

       10.     In 2019, I received the Bolívar Pagán National Literature and Journalism Award

from the Institute of Puerto Rican Literature.

II.    Experience with Puerto Rico’s Criminal Defamation Law

       11.     While I was serving as President of the Overseas Press Club in 1999–2000, we

went to court to help defend Obed Betancourt and the newspaper El Vocero against a prosecution

under Puerto Rico’s former criminal defamation law for articles Mr. Betancourt published

describing police corruption. At the probable cause hearing, the prosecution did not attempt to

demonstrate that the defendants knew the reporting to be false, or even that the reporting

contained any false information. The prosecution was dismissed for lack of probable cause.

       12.     The Overseas Press Club then sought to intervene in a federal lawsuit challenging

Puerto Rico’s criminal defamation law. Although our motion to intervene was denied, the law

was ultimately struck down by the U.S. Court of Appeals for the First Circuit, on the ground that

it violated the First Amendment. Mangual v. Rotger-Sabat, 317 F.3d 45 (1st Cir. 2003).

       13.     My experience with these lawsuits demonstrated to me the danger of allowing the

government to prosecute speech that it deems to be false.

III.   Investigative Reporting: Hurricane Maria




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       14.     In 2017, I was part of the historic coverage of Hurricane Maria in the only radio

network that remained on the air, Cadena WAPA Radio. Broadcasting during and after the

storm, WAPA Radio provided news and information to residents across the island, most of

whom had lost electricity and could not access television, internet news, or print journalism.

       15.     Reporting by me and other journalists revealed the inadequacy of the response by

the U.S. and Puerto Rico governments to the widespread devastation left by Hurricane Maria.

Local officials, including then-Governor Ricardo Rosselló, repeatedly failed to provide credible

information about the scale of the impact of the hurricane, claiming for months that the death toll

was a few dozen, when in reality it was a few thousand.

       16.     I became known for asking government officials tough questions about the

hurricane’s impact and the government response. Officials were visibly upset by my questions

and I was put on a “black list” of reporters who would not receive answers during press

conferences.

       17.     During an on-air interview, I challenged then-Chief of Staff Ramón Rosario about

the implausibility of the official death toll, and he responded by insulting me. He yelled at me,

told me in the air that I was exaggerating, that I was crazy and launched several epithets, he

raised his voice, and almost yelled at me in trying to shut me up, to the point that fellow

journalist Luis Penchi had to intervene. Penchi entered the studio and on the air said that he

would not tolerate any disrespect to any journalist and that Rosario had to calm down.

Immediately following that interview I received thousands of messages via social media, many

of them racist and misogynistic. The online bullying continued for months.

       18.     On November 2, 2017 my house was burglarized under suspicious circumstances.

My personal and financial documents were strewn across the floor, but nothing was taken. I filed



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a complaint with the police, who told me that the burglary was likely intended to “send a

message.”

        19.     As a result of the break-in and persistent online bullying, I decided to leave

WAPA Radio and kept a relatively low profile. I continued to write columns questioning the

government’s response to the hurricane, many of which were very widely read.

        20.     Eventually, the government’s mismanagement of the response to Hurricane Maria

was widely recognized, but only after journalists like me were publicly ridiculed and threatened

for trying to reveal the truth. It continues to be difficult to attract clients to my public relations

firm because of the government’s hostility towards me.

IV.     Investigative Reporting: “Chat-gate”

        21.     On July 10, 2019, I revealed on my blog the first 11 pages of a Telegram chat

between then-Governor Ricardo Rosselló and his aides. I focused my reporting on the use of

misogynistic language and descriptions of violence against women in the chat. Over the next

three days, I published over 50 more pages of the chat and the articles went viral. My reporting

was picked up by media outlets across the world, including The New York Times, The Guardian,

Vice, MTV, Christian Science Monitor, and many others.

        22.     The coverage of the Governor’s chats led to island-wide protests against the

government. Four days after my initial report, the Center for Investigative Journalism published

889 pages of the chat revealing additional inappropriate content. Thousands of people protested

in the streets of Puerto Rico day in and day out, venting their frustration about government

corruption and incompetence. After two weeks of protests, Governor Rosselló resigned.

        23.     During the two weeks of intense protests, I continued to update my blog and host

my radio program. I published more than 100 additional pages of the original Telegram chat and



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another chat involving then-Justice Secretary and now Governor Wanda Vázquez who refused to

investigate corruption allegations against former first lady Beatriz Rosselló.

       24.     Since Governor Rosselló resigned, I have continued investigating and reporting

on the government, and I remain a target of online trolling in response to my reporting to this

day.

V.     Fear of Prosecution under 25 L.P.R.A. §§ 3654(a) and (f)

       25.     I continue to engage in investigative reporting and commentary on my radio

program and my blog. Like many other journalists in Puerto Rico, my reporting right now

focuses on the public health emergency caused by the COVID-19 global pandemic and the

government’s response to that emergency.

       26.     I recently learned about the government’s attempt to prosecute Pastor José Luis

Rivera Santiago under 25 L.P.R.A. § 3654(a) for allegedly sharing false information about a

rumored executive order to close all businesses because of the public health emergency. This

prosecution reminds me of the attempts to prosecute journalists under the old criminal

defamation law.

       27.     I am very concerned that I will be targeted for prosecution under 25 L.P.R.A. §§

3654(a) and (f) for my reporting. I make every effort to confirm the accuracy of my reporting

and commentary, in accordance with standard journalistic practices. But I also recognize that it is

always possible that my reporting may contain inadvertent inaccuracies, especially during fast

developing stories about public emergencies, or that the government may dispute the accuracy of

my reporting, as it did regarding the death toll from Hurricane Maria.

       28.     My fear of prosecution under 25 L.P.R.A. §§ 3654(a) and (f) has chilled my own

reporting and commentary.



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         29.   My sources have also refrained from sharing important information with me,

because they are afraid that they too could be prosecuted under 25 L.P.R.A. §§ 3654(a) and (f).

         30.   25 L.P.R.A. §§ 3654(a) and (f) purport to target what the government calls “fake

news,” but these laws are a threat to all reporting. It is already risky for journalists to challenge

the government and now we risk a criminal conviction if anything we publish is eventually

disproved, even if the error was unintentional. These laws allow the government broad discretion

to harass and punish journalists. Now, journalists could face prison time if we publish material

that has not been verified by the government.

         31.   I also do not know what these laws mean when they make it a crime to report on

“abnormalities” or what constitutes an intent to cause “confusion, panic, or public hysteria.” I do

not know whether my reporting could fall into these categories if the government concludes that

it contains false information. For example, I do not know whether the government could have

alleged that my reporting about the implausible official death toll from Hurricane Maria could

have been prosecuted under these provisions. Was it reporting about an “abnormality”? Could

the government have alleged that it was intended to cause “confusion, panic, or public hysteria”?

The vagueness of these terms exacerbates the chilling effect these laws have on my reporting and

commentary.

         32.   The impact of these laws is particularly strong on independent investigative

journalists like me, who have a history of calling the government to account. I am fearful that I

may be charged under this law at any time for my investigative reporting. But the risk is not

limited to outspoken government critics like me – the law has a chilling effect on the media as a

whole.




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       33.     The Puerto Rican public and our democracy suffer under this law, because people

are deprived of the news coverage necessary to hold their leaders accountable. As we

experienced after Hurricane Maria, independent journalism is more necessary than ever during

an emergency. This law will discourage journalists from contradicting the government. If this

law had been in effect during the hurricane, or during “chat-gate,” those scandals may never

have been revealed.

       Pursuant to U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.


Executed this 19th day of May 2020.


                             By: S/E____________________________
                                    Sandra Rodríguez Cotto




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